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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
FILED
Norman Peck, Case No. 1:18-cv-03989 ~ @ty- TRS MAR
Plaintiff. 7 usc 12 2029
“0. CLERK'S O
IND] FFICE
v. ANAPOLIS, INDIANA

REV-1 Solutions, LLC,
Defendant

 

MEMORANDUM SHOWING CAUSE

On 9 May 2019 plaintiff-movant Norman Peck filed his explicit, clear, unambiguous notice
“expressly den[ying] consent for any and all magistrate judges to conduct any and/or all
proceedings in this civil action. 28 USC § 636(c)(1)”.! The district clerk entered this document
into the record on 13 May 2019 at 4:17 pm.

Nonetheless, on 4 March 2020, Peck received a document? in the mail titled ORDER ON
FEBRUARY 20, 2020, TELEPHONIC STATUS CONFERENCE and dated 27 February 2020. The

contents read, in their entirety:

Defendant’s counsel appeared by counsel February 20, 2020, for a
telephonic status conference. Plaintiff Norman Peck failed to appear as
ordered. Plaintiff shall show cause by March 12, 2020, why sanctions
should not issue for his failure to appear for the February 20 telephonic
status conference.

The parties shall file witness and exhibit lists by March 30, 2020. All
discovery shall be completed by April 30, 2020. Any dispositive motion
shall be filed by June 1, 2020.

 

' See also, inter alia, Peck’s 9 May 2019 JUDICIAL NOTICE at 2-4.

* Parties are not required to file notices of non-consent because magistrate judges have no jurisdiction in a
civil matter without the clear, written consent of all parties. To Peck’s knowledge, neither party in this
case gave consent to magistrate proceedings. Peck filed his 9 May 2019 document to make his non-
consent crystal clear.

> The copy of this illegal order does not display the standard header showing its docket number.

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Mr. Baker’s 27 February 2020 filing has many serious problems.

Problem #1. If Mr. Baker intended that Peck be informed about this telephonic conference, he
should have taken steps to ensure that Peck was notified before it occurred, rather than two
weeks afterward. For instance, Mr. Baker could have ordered the district clerk in the proper
venue’ to notify Peck by U.S. mail of this conference at a proper time.

Problem #2. The duties of federal magistrate judges are prescribed in the clear-cut language of
28 USC § 636(c):

(1) Upon the consent of the parties, a full-time United States magistrate
judge or a part-time United States magistrate judge who serves as a full-
time judicial officer may conduct any or all proceedings in a jury or
nonjury civil matter and order the entry of judgment in the case, when
specially designated to exercise such jurisdiction by the district court or
courts he serves. Upon the consent of the parties, pursuant to their specific
written request, any other part-time magistrate judge may exercise such
jurisdiction, if such magistrate judge meets the bar membership
requirements set forth in section 631 (b)(1) and the chief judge of the
district court certifies that a full-time magistrate judge is not reasonably
available in accordance with guidelines established by the judicial council
of the circuit. When there is more than one judge of a district court,
designation under this paragraph shall be by the concurrence of a majority
of all the judges of such district court, and when there is no such
concurrence, then by the chief judge.

(2) If a magistrate judge is designated to exercise civil jurisdiction under
paragraph (1) of this subsection, the clerk of court shall, at the time the
action is filed, notify the parties of the availability of a magistrate judge to
exercise such jurisdiction. The decision of the parties shall be
communicated to the clerk of court. Thereafter, either the district court
judge or the magistrate judge may again advise the parties of the
availability of the magistrate judge, but in so doing, shall also advise the
parties that they are free to withhold consent without adverse substantive
consequences. Rules of court for the reference of civil matters to
magistrate judges shall include procedures to protect the voluntariness of
the parties’ consent.

 

* 105 U.S. Courthouse, 46 East Ohio Street, Indianapolis.

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Plainly, “the consent of the parties” is essential before a magistrate judge has civil jurisdiction
inacase.° Mr. Baker lacked the consent of the parties.

Problem #3. Without the parties’ unanimous consent, Mr. Baker lacked jurisdiction to
participate in this civil action as a judicial officer.

Problem #4. There was no legal right for any magistrate judge to participate in any
proceedings in this civil action (e.g., a “telephonic status conference”).°

Problem #5. Mr. Baker has no judicial immunity in this civil action.

Problem #6. Peck sees nothing in Title V (“Disclosures and Discovery”) of the Federal Rules
of Civil Procedure that grants authority to magistrate judges to participate in discovery.’

Problem #7. Mr. Baker’s 27 February 2020 filing is unspecific about who, other than
“Defendant’s counsel”, participated in the 20 February 2020 conference. If a magistrate judge
(e.g., Mr. Baker) was involved, he committed a wrongful, unauthorized act—that is, engaged in
malfeasance.

Problem #8. Anyone who has read Peck’s filings knows that Peck does not have a telephone.

Problem #9. Anyone who has read Peck’s filings knows that the court has twice denied him
access to the CM/ECF manual and ECF registration. To this day Peck is unable to read the
electronic versions of the records that the district clerk has entered.®

Problem #10. Anyone who has read Peck’s filings knows that Peck gave the court notice that

he would not participate in oral hearings.”

 

* See, e.g., 28 USC § 636(c)(2): “procedures to protect the voluntariness of the parties’ consent.”

* Peck just received Mr. Baker’s 27 February 2020 filing. Peck is unclear about “status conferences”. This
will require research. Perhaps status conferences are authorized in Title V (“Disclosures and Discovery”)
of the Federal Rules of Civil Procedure.

” See Mr. Baker’s 27 February 2020 filing: “discovery”.

* See, for instance, page one of Peck’s 9 May 2019 JUDICIAL NOTICE, which the clerk entered into the
court record on 13 May 2019 at 4:17 PM.

 
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Conclusion
Peck has shown ample “cause by March 12, 2020, why sanctions should not issue for his
failure to appear for the February 20 telephonic status conference.” Peck has also shown ample

cause why Mr. Baker deserves censure.

 

 

Respectfully submitted,

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Norman Pefk, Plaigtiff Date
P.O. Box 273

Kokomo, Indiana 46903
Telephone / facsimile number: None
Email address: legal_stuff@use.startmail.com

Certificate of Service

Peck certifies today’s filing/serving of this MEMORANDUM SHOWING CAUSE by delivering it
by first-class U.S. Mail addressed to

e the Office of the Clerk, 105 U.S. Courthouse, 46 East Ohio Street, Indianapolis, Indiana
46204
e Nicholas Moline, 517 U.S. Highway 31 North, Greenwood, Indiana 46142

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Norman Peck, Plaintiff Date
P.O. Bok 273

Kokomo, Indiana 46903

Telephone / facsimile number: None

Email address: legal_stuff@use.startmail.com

Enclosures:
e Additional copy of MEMORANDUM SHOWING CAUSE for the district clerk to return to Peck in

the enclosed self-addressed envelope, which is big enough and has enough postage. S.D. Ind.
L.R. 5-10(b).

 

* See, for instance, page five of Peck’s 9 May 2019 JUDICIAL NOTICE: “Many attorneys are known for
making irrelevant, off-the-cuff statements; some illegally meet with judicial officers absent the presence
of the opposing party; some have been known to introduce hearsay into evidence at these ex parte
gatherings.”

 
